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SEALED

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA _

In the Matter of the Search of _ Case No. 20-9347MB

Information associated with

kerwinelliot@gmail.com, ORDER

help@Loon-A-Tech.com, and

Elliot_ P_Kerwin@gmail.com (Second Extension)

that is stored at premises owned or controlled

by Google LLC. (Filed Under Seal)

Based upon the United States of America’s Motion to Extend Time to Maintain

Search Warrant Materials Under Seal, and good cause appearing,

IT IS HEREBY ORDERED that the time to maintain under

seal the Search

Warrant and Return, the Application for Search Warrant, the Affidavit and any attachments

thereto, the Nondisclosure Application and Order, the Motion to Seal, and the Order to Seal

be extended for an additional 180 days, unless further extensions are granted by the Court.

IT IS FURTHER ORDERED that the Order to Seal shall be extended from

November 8, 2021, to and including May 7, 2022.

IT IS FURTHER ORDERED that the instant Motion and this Order be filed under

seal.

DATED this De | day of October, 2021.

HONORABLE DEBORAH M. FINE

United States Magistrate Judge

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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF ARIZONA

In the Matter of the Search of Case No. 20-9347MB
Information associated with
kerwinelliot@gmail.com, MOTION TO EXTEND TIME TO
help@Loon-A-Tech.com, and MAINTAIN SEARCH WARRANT
Elliot P_Kerwin@gmail.com MATERIALS UNDER SEAL
that is stored at premises owned or controlled
by Google LLC. (Second Extension)

(Filed Under Seal)

On November 13, 2020, the Court authorized a search warrant in the above-
captioned matter and ordered that the Search Warrant and Return, the Application for
Search Warrant, the Affidavit and any attachments thereto, the Nondisclosure Application
and Order, the Motion to Seal, and the Order to Seal filed in this matter (“the Sealed
Materials”) would remain under seal for 180 days, unless further extensions were granted
by the Court. The Court previously issued one extension of this Order. The current date
on which the order to seal is set to expire is November 8, 2021. The United States is now
seeking an order extending the order to seal for an additional 180 days from November 8,

2021, up to and including May 7, 2022.!

__ | The United States is not seeking a second extension of the Nondisclosure Order,
which also expires November 8, 2021.

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An order extending the sealing of the Sealed Materials is authorized and appropriate.
See Matter of Search Warrants Executed on February 14, 1979, 600 F.2d 1256, 1257 (9th
Cir. 1979) (“[c]ourts have inherent power, as an incident of their constitutional function,
to control papers filed with the courts within certain constitutional and other limitations.”).
Sealed Materials are regularly maintained under seal by the Court pending the completion
of a criminal investigation.

Here, an extension of the sealing order is appropriate because the search warrant
relates to an ongoing criminal investigation by the FBI, the nature, scope, and direction of
which are not public. There is reason to believe release of the Sealed Materials would
seriously jeopardize the investigation or unduly delay a trial, including by giving targets or
others an opportunity to destroy or tamper with evidence or intimidate potential witnesses.
See, e.g., Inre Search Warrant for Secretarial Area Outside Office of Gunn, 855 F.2d 569,
574 (8th Cir. 1988) (affirming district court’s order sealing affidavit and other documents
attached to search warrant, holding it was “necessitated by compelling government
interest—the on-going investigation” and there was “a substantial probability that the
government’s on-going investigation would be severely compromised if the sealed
documents were released”).

Based on the foregoing, the United States respectfully requests the Court extend the
time for maintaining the Sealed Materials under seal for an additional 180 days. The
government further requests this Motion, and any order resulting from it, be filed under
seal.

Respectfully submitted this 27" day of October, 2021.

GLENN B. McCORMICK
Acting United States Attorney
District of Arizona

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M. BRIDGET MINDER

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